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    6 Attorneys for Defendants County of Ventura
        (erroneously sued as Ventura County Public
    7 Health Care Agency), William Ayub (erroneously
        sued as Bill Ayub), Dr. Robert Levin, and William T. Foley
    8
    9
                             UNITED STATES DISTRICT COURT
  10
                           CENTRAL DISTRICT OF CALIFORNIA
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  12
        DONALD MCDOUGALL, an             )     No. 2:20-cv-02927-CBM (AS)
  13 individual; JULIANA GARCIA, an      )
        individual; SECOND AMENDMENT )         STIPULATION TO CONTINUE
  14    FOUNDATION; CALIFORNIA           )     BRIEFING SCHEDULE AND
        GUN RIGHTS FOUNDATION; and )           HEARING ON PLAINTIFFS’
  15    FIREARMS POLICY COALITION, )           MOTION FOR PRELIMINARY
        INC.,                            )     INJUNCTION
  16                                     )
                            Plaintiffs,  )     Hearing Date:     May 12, 2020
  17           vs.                       )     Time:             10:00 a.m.
                                         )     Ctrm:             8B
  18    COUNTY OF VENTURA,               )     Judge:            Hon. Consuelo B.
        CALIFORNIA; BILL AYUB, in his )                          Marshall
  19    official capacity; WILLIAM T.    )
        FOLEY, in his official capacity, )     Trial:           Not Set
  20    ROBERT LEVIN, in his official    )     Complaint Filed: March 28, 2020
        capacity; and VENTURA COUNTY )
  21    PUBLIC HEALTH CARE AGENCY )
                                         )
  22                        Defendants.  )
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          STIPULATION TO CONTINUE HEARING DATE AND BRIEFING SCHEDULE
                ON PLAINTIFFS MOTION FOR PRELIMINARY INJUNCTION
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    1        Defendants, County of Ventura, Sheriff William Ayub, Dr. Robert Levin
    2 and Director William T. Foley (collectively “Defendants”) and plaintiffs Donald
    3 McDougall, Juliana Garcia, Second Amendment Foundation, California Gun
    4 Rights Foundation and Firearms Policy Coalition, Inc. (collectively “Plaintiffs”),
    5 by and through their respective counsel of record, stipulate and agree as follows:
    6        1. On March 28, 2020, Plaintiffs filed the complaint in this action but did
    7 not serve it on Defendants (ECF Doc. No. 1).
    8        2. On March 30, 2020, Plaintiffs filed an ex parte application for a
    9 temporary restraining order (ECF Doc. Nos. 9 & 10), which the court denied on
  10 April 1, 2020 (ECF Doc. No. 12).
  11         3. On April 14, 2020, Plaintiffs filed a first amended complaint (ECF
  12 Doc. No. 19) and a motion for preliminary injunction (“MPI”) (ECF Doc. No. 20).
  13         4. On April 21, 2020, Plaintiffs served the operative complaint and MPI on
  14 Defendants. Plaintiffs set a hearing date on the MPI for May 12, 2020.
  15         5. No prior continuances have been requested by any party.
  16         6. Plaintiffs service of the MPI does not provide Defendants with sufficient
  17 notice of the motion under Local Rule 6-1, nor does it provide Defendants with a
  18 meaningful opportunity to respond to the MPI, given that under Local Rule-7-9,
  19 Defendants opposition to the MPI would be otherwise due on the same day
  20 Plaintiffs served the motion.
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         STIPULATION TO CONTINUE HEARING DATE AND BRIEFING SCHEDULE
               ON PLAINTIFFS MOTION FOR PRELIMINARY INJUNCTION
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    1        7. Plaintiffs and Defendants agree that the MPI should be heard in a manner
    2 that affords Defendants a meaningful opportunity to respond, and that the new
    3 hearing date should be set on May 19, 2020, or as soon thereafter as is convenient
    4 for the court, with Defendants’ opposition to be filed in accordance with Local
    5 Rule 7-9.
    6 IT IS SO STIPULATED.
    7                                 LEROY SMITH
                                      County Counsel, County of Ventura
    8
    9                                                /s/
        Dated: April 21, 2020         By
  10                                         CHARMAINE H. BUEHNER
                                             Assistant County Counsel
  11
                                      Attorneys for Defendants County of Ventura
  12                                  (also sued erroneously as the Ventura County
                                      Public Health Care Agency), Sheriff William
  13                                  Ayub (erroneously sued as Bob Ayub),
                                      Dr. Robert Levin and Director William T. Foley
  14
                                      LAW OFFICES OF RONDA BALDWIN-
  15                                  KENNEDY
  16
                                                    /s/
  17 Dated: April 21, 2020            By
                                             RONDA BALDWIN-KENNEDY
  18
  19                                  Attorneys for Plaintiffs Donald McDougall,
                                      Juliana Garcia, Second Amendment Foundation,
  20                                  California Gun Rights Foundation and Firearms
                                      Policy Coalition, Inc.
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          STIPULATION TO CONTINUE HEARING DATE AND BRIEFING SCHEDULE
                ON PLAINTIFFS MOTION FOR PRELIMINARY INJUNCTION
